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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, and the
STATES OF CALIFORNIA, DELAWARE,
FLORIDA, HAWAII, ILLINOIS, INDIANA,
MASSACHUSETTS, MINNESOTA,
MONTANA, NEVADA, NEW
HAMPSHIRE, NEW JERSEY, NEW
MEXICO, NEW YORK, NORTH
CAROLINA, RHODE ISLAND,
TENNESSEE, VIRGINIA and the
DISTRICT OF COLUMBIA ex rel. JAMES
GLENN,

Index No.: 11-CV-0400(A)

STIPULATION
OF DISMISSAL

Plaintiffs,
-against-
CISCO SYSTEMS, INC.,

Defendant.

 

 

 

Plaintiffs the United States and the States of California, Delaware, Florida, Hawaii,
Illinois, Indiana, Minnesota, Montana, Nevada, New Hampshire, New Jersey, New Mexico, New
York, North Carolina, Rhode Island, Tennessee, the Commonwealths of Massachusetts and
Virginia, and the District of Columbia, and Relator James Glenn (the “Relator”), by and through
their counsel, hereby submit this Stipulation of Dismissal pursuant to Federal Rule of Civil
Procedure 41(a)(1) and 31 U.S.C, § 3730(b)(1) and similar provisions of the state false claims

acts, and stipulate and agree to the following:

WHEREAS, on or about July 22, 2019, United States, Relator, and Defendant entered
into a final settlement agreement in United States et al. ex rel. Glenn v. Cisco Systems, Inc. No.

11-CV-0400(A) (the “Federal Settlement Agreement”);
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WHEREAS on or about July 19, 2019, the States of California, Delaware, Florida,
Hawaii, Illinois, Indiana, Minnesota, Nevada, New Jersey, New Mexico, New York, North
Carolina, Tennessee, the Commonwealths of Massachusetts and Virginia, and the District of
Columbia (the “Settling State Plaintiffs”), Relator, and Defendant entered into a final settlement
agreement in United States et al. ex rel. Glenn v. Cisco Systems, Inc., No. 11-CV-0400(A) (the
“State Settlement Agreement” and together with the Federal Settlement Agreement, collectively

the “Settlement Agreements”); and

WHEREAS, on or about July 29, 2019, the United States and the Settling State Plaintiffs

filed their Notice of Intention to Intervene in Qui Tam Case for Purposes of Settlement;

Pursuant to Federal Rule of Civil Procedure 41(a)(1) and 31 U.S.C. § 3730(b)(1) and
similar provisions of the state false claims acts, and in accordance with and subject to the terms
of the Settlement Agreements, the United States, Plaintiff States, and Relator hereby stipulate to
the entry of an order dismissing the above-captioned case as to the Defendant, provided that such

dismissal shall be:

e with prejudice as to the United States as to the Covered Conduct described in the Federal
Settlement Agreement, and without prejudice to the United States as to conduct other
than that described in the Federal Settlement Agreement as Covered Conduct;

e with prejudice as to the Settling State Plaintiffs as to the Covered Conduct described in
the State Settlement Agreement, and without prejudice as to the Settling State Plaintiffs
as to conduct other than that described in the State Settlement Agreement as Covered
Conduct;

e without prejudice as to Montana, New Hampshire, and Rhode Island; and
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e with prejudice as to the Relator as to the Covered Conduct and without prejudice as to the

Relator as to conduct other than the Covered Conduct described in the Settlement

Agreements.

Notwithstanding the foregoing, this Court shall maintain jurisdiction for the limited

purpose of enforcing the Federal Settlement Agreement and the State Settlement Agreement,

except as to the State of Florida, and will maintain jurisdiction over the Relator’s claims for

attorney’s fees, expenses and costs, which have expressly been reserved,

FINALLY, the United States hereby requests that the Court unseal the relator’s

complaint, the Stipulation of Dismissal and Order as well as the Notice of Intervention. The

United States further requests that all other docket entries remain under seal.

The Parties respectfully request that the Court enter an order in the form attached.

Dated: July 29, 2019
Buffalo, New York

Respectfully submitted,

JAMES P, KENNEDY, JR.
United States Attorney,

mA

Richard Resnick, Esq.

   

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Case 1:11-cv-00400-RJA Document 75 Filed 07/31/19 Page 4 of 23

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CZ James Glenn

 
 
  

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